Case 3:09-cr-00292-K     Document 300      Filed 09/17/10    Page 1 of 1   PageID 918

                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                   )
                                           )
VS.                                        )       CASE NO.: 3:10-CR-167-K (10)
                                           )
OSVALDO SALAS                              )

          ORDER ACCEPTING REPORT AND RECOMMENDATION
             OF THE UNITED STATES MAGISTRATE JUDGE
                   CONCERNING PLEA OF GUILTY

      After reviewing all relevant matters of record, including the Notice Regarding

Entry of a Plea of Guilty, the Consent of the defendant, and the Report and

Recommendation Concerning Plea of Guilty of the United States Magistrate Judge, and

no objections thereto having been filed within fourteen days of service in accordance

with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the

Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea

of guilty and Plea Agreement and Defendant is hereby adjudged guilty. Sentence will

be imposed in accordance with the Court’s scheduling order.

      SO ORDERED.

      SIGNED this 17th day of September, 2010.




                                               ED KINKEADE
                                               UNITED STATES DISTRICT JUDGE
